      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 1 of 42



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12

13                               UNITED STATES DISTRICT COURT

14                            NORTHERN DISTRICT OF CALIFORNIA

15

16    MICRON TECHNOLOGY, INC.,                           Case No. 3:17-CV-06932-MMC

17                      Plaintiff,                       MICRON TECHNOLOGY, INC.’S
                                                         FIRST AMENDED COMPLAINT
18           v.
                                                         (1) Defend Trade Secrets Act
19    UNITED MICROELECTRONICS                            (2) Civil RICO, 18 U.S.C. § 1962(c)
      CORPORATION, FUJIAN JINHUA                         (3) Civil RICO, 18 U.S.C. § 1962(d)
20    INTEGRATED CIRCUIT CO., LTD., and                  (4) California Uniform Trade Secrets Act
      DOES 1-10,
21                                                       DEMAND FOR JURY TRIAL
                        Defendants.
22

23                REDACTED VERSION OF DOCUMENT FILED UNDER SEAL

24          Plaintiff Micron Technology, Inc. (“Micron”) brings this action against United

25   Microelectronics Corporation (“UMC”), Fujian Jinhua Integrated Circuit Co., Ltd. (“Jinhua”), and

26   Does 1-10 as follows.

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                                                     1                             3:17-CV-06932-MMC
                     MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
       Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 2 of 42



 1                                       NATURE OF THE ACTION
 2          1.       Micron brings this action under the Defend Trade Secrets Act, the civil provisions

 3   of the Racketeer Influenced and Corrupt Organizations Act (“RICO”), and California’s Uniform

 4   Trade Secrets Act against UMC, Jinhua, and Does 1-10 for theft of Micron’s trade secrets and other

 5   misconduct. The trade secrets relate to the design and manufacture of Dynamic Random Access

 6   Memory (“DRAM”) integrated circuits – an industry with over $50 billion in annual revenues

 7   worldwide.

 8          2.       Defendant UMC is a semiconductor foundry with operations centered in Taiwan,

 9   China, and Singapore. UMC’s primary business is to mass produce integrated-circuit logic

10   products based on designs and technology developed and provided by its customers. Although

11   lacking any significant, independent intellectual property in advanced DRAM technology, UMC

12   executed a deal with Defendant Jinhua – a start-up intending to manufacture DRAM products in

13   Mainland China – to provide Jinhua with DRAM process technology and enable Jinhua to become

14   a leading force in the DRAM business (the “UMC/Jinhua DRAM Project”). How UMC could

15   deliver such technology was a mystery until criminal indictments in Taiwan exposed the

16   defendants’ secret, illegal plan.

17          3.       On February 7, 2017 and February 14, 2017, the Taiwanese criminal authorities

18   conducted raids on UMC’s facilities in Taiwan and, on August 8, 2017, indicted UMC and

19   employees J.T. Ho (“Ho”), Kenny Wang (“Wang” or “KW”) and Leh-Tian Rong (“Rong”) The

20   original and certified translations of the Indictment Decision of the Taiwan Taichung District

21   Prosecutor’s Office, Case No. 106-Zhen-Zi Nos. 11035, 4520, 5612, and 5613 are attached as

22   Exhibits 1 and 2 (the “Taiwan Indictment”). The Taiwan Indictment documents the theft and use of

23   Micron’s trade secrets in the UMC/Jinhua DRAM Project, as well as UMC’s effort to conceal

24   evidence from Taiwan prosecutors:

25           a.      Since at least the fall of 2015, UMC and the founders of Jinhua developed

26                   and set in motion a plan for UMC to recruit key personnel from Micron’s

27                   Taiwanese affiliate – Micron Memory Taiwan Co., Ltd. (“MMT”) –

28                   including MMT’s former Site Director, Stephen Chen (“Chen”);

                                                       2                             3:17-CV-06932-MMC
                        MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
       Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 3 of 42



 1           b.      Working in concert, UMC and Jinhua conspired to induce former MMT
 2                   employees to misappropriate electronic and paper files containing Micron
 3                   trade secrets from MMT and to deliver those trade secrets to UMC;
 4           c.      UMC then incorporated Micron’s trade secrets into technologies that it
 5                   transferred and/or plans to transfer to Jinhua to enable Jinhua to mass
 6                   produce advanced DRAM products as early as 2018 – thus avoiding
 7                   substantial, time-consuming and costly R&D efforts that UMC or Jinhua
 8                   would have had to undertake to compete fairly.
 9           d.      Aware that their trade secret theft was criminal, the participants in the
10                   conspiracy went to great lengths to hide and cover up their plan, including
11                   by: lying to human resources personnel when exiting Micron; lying to
12                   Taiwanese criminal investigators; using software tools to wipe electronic
13                   evidence; and even attempting to destroy or hide incriminating materials
14                   from Taiwanese criminal authorities while the authorities were in the middle
15                   of executing a search warrant at UMC.
16          4.       After Micron initiated this action, Micron discovered that UMC and Jinhua have
17   been using Micron’s stolen trade secrets to file joint patent applications with the United States
18   Patent and Trademark Office that are publishing at an alarming rate (“UMC/Jinhua Patent Filings”).
19   Micron has now discovered at least one hundred and seventeen (117) UMC/Jinhua Patent
20   Filings—all filed after UMC and Jinhua stole and armed themselves with Micron’s trade secrets.
21   The vast majority of the UMC/Jinhua Patent Filings identify former Micron employees as named
22   inventors and Micron has discovered that many of the UMC/Jinhua Patent Filings are based on and
23   derived from Micron trade secrets, constituting improper use and disclosure of Micron’s trade
24   secrets. By using and disclosing Micron’s trade secrets in the UMC/Jinhua Patent Filings as set
25   forth herein, UMC and Jinhua engaged in acts of misappropriation and acts in furtherance of their
26   misappropriation from Micron in the United States and in this District.
27          5.       The United States has also taken action in response to the Defendants’ brazen
28   scheme of misappropriation. On or about October 30, 2018, the U.S. Department of Commerce
                                                         3                              3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
       Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 4 of 42



 1   Bureau of Industry and Security published in the Federal Register the determination of the End-
 2   User Review Committee that Jinhua “poses a significant risk of becoming involved in activities that
 3   could have a negative impact on the national security interests of the United States” and it
 4   implemented export controls on Jinhua’s ability to receive U.S. technologies.
 5          6.       Days later, on November 1, 2018, the U.S. Department of Justice (1) announced a
 6   criminal indictment against Jinhua, UMC, and three former Micron employees – Chen, Ho and
 7   Wang – who left Micron to work for UMC and (2) filed a civil injunction action, all based on the
 8   theft and use of Micron’s trade secrets at issue in this action. U.S.A. v United Microelectronics
 9   Corp., et al., Case No. 3:18-cr-00465 (“U.S. Criminal Action”), ECF No. 1 (the “U.S. Indictment”)
10   and U.S.A. v United Microelectronics Corp., et al., Case No. 5:18-cv-06643 (the “U.S. Civil
11   Action”). By Order dated November 14, 2018, the U.S. Criminal Action and the U.S. Civil Action
12   were deemed related to this civil action.
13          7.       As the Taiwan Indictment, U.S. Indictment and U.S. Civil Action reflect, UMC and
14   Jinhua orchestrated and executed one of the boldest schemes of commercial espionage in recent
15   times. Defendants stand to profit handsomely from their scheme: UMC is prepared to make
16   hundreds of millions of dollars for its purported “development work,” and Jinhua plans, and already
17   has begun, to avoid hundreds of millions of dollars in costs and the many years of R&D effort that
18   honest competition would require.
19                                               THE PARTIES
20                                               Plaintiff Micron
21          8.       Founded in 1978, Micron is a global leader in advanced semiconductor systems and
22   solutions. Micron’s portfolio of high-performance memory technologies – including DRAM,
23   NAND and NOR Flash – is the basis for solid-state drives, modules, multichip packages, and other
24   system solutions. Micron’s technologies enable the world’s most innovative computing, consumer,
25   enterprise storage, networking, mobile, embedded, and automotive applications. Marketing its
26   products primarily to OEMs and retailers around the globe, Micron is ranked among the top five
27   semiconductor-producing companies in the world. Its common stock is traded on the NASDAQ
28   under the symbol “MU”.
                                                        4                              3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
       Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 5 of 42



 1          9.       A Delaware corporation with its headquarters in the United States at 8000 South
 2   Federal Way, Boise, Idaho 83707-0006, Micron has numerous locations in the United States and
 3   around the world, including two locations in this District: (1) Tasman Technology Park, 590 Alder
 4   Drive, Milpitas, California 95035; and (2) 110, 120, and 130 Holger Way, San Jose, California
 5   95134 (recently acquired with operations anticipated being transitioned to San Jose from Milpitas).
 6          10.      Micron employs over 30,000 people in eighteen countries worldwide, including
 7   Taiwan, where it acquired Rexchip Electronics Corp. (“Rexchip”) – previously a joint venture
 8   between Elpida Memory, Inc. of Japan and Powerchip Technology Corporation. With its exclusive
 9   focus on DRAM production, Rexchip – now MMT – added breadth and depth to Micron’s already
10   world-class DRAM expertise. Micron is the sole owner of trade secrets in the Micron group of
11   companies. Micron in turn licenses its trade secrets to certain subsidiaries such as MMT to enable
12   their business operations.
13                                            Defendant UMC
14          11.      Defendant UMC is a global semiconductor foundry with several manufacturing
15   facilities worldwide, including in Taiwan and Mainland China. UMC has a significant sales
16   presence in the Northern District of California through its wholly-owned subsidiary UMC Group
17   (USA), located at 488 De Guigne Drive, Sunnyvale, California 94085. In its SEC Form 20-F,
18   UMC reported inter-party sales into the United States to UMC Group (USA) of approximately
19   $1.8 billion. UMC recently reported that 43% of its foundry sales are in North America, and those
20   sales derive primarily from the United States. UMC is publicly traded on the New York Stock
21   Exchange and the Taiwan Stock Exchange. In early 2016, UMC established the so-called New
22   Business Development (“NBD”) group at the Second Factory Area of its Fab 12A in Tainan
23   Science Park, which group was responsible for delivering DRAM technology to Jinhua.
24                                            Defendant Jinhua
25          12.      Defendant Jinhua is a limited liability company founded in Mainland China in early
26   2016 with the goal to rapidly and aggressively enter the DRAM business. Its shareholders are
27   commercial enterprises ultimately controlled by Fujian Province. With substantial government-
28   funding, Jinhua announced a $5.65 billion investment in its first 300mm fabrication facility, known
                                                       5                             3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
       Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 6 of 42



 1   in the industry as a “fab”, and broke ground on July 16, 2016. Jinhua planned to begin commercial
 2   DRAM production by 2018. As of February 2016, Jinhua did not employ any engineers
 3   experienced at DRAM technology.
 4                              Co-Conspirators Chen, Rong, Ho, and Wang
 5          13.      Co-Conspirator Chen is the former Chairman of Rexchip and former Site Director
 6   of MMT. Chen resigned from MMT on July 31, 2015, and officially joined UMC as Senior
 7   Corporate Vice President less than two months later. At the time Chen joined UMC in
 8   September 2015, UMC was not in the DRAM business and UMC did not manufacture DRAM.
 9   UMC started in DRAM after February 2016. At the time of the events alleged in this complaint,
10   Chen knew that Micron was headquartered in Boise, Idaho. In 2014 and 2015, Chen traveled to
11   Micron’s headquarters in Boise, Idaho, making stops in San Francisco, California en route to
12   Micron.
13          14.      Shortly after leaving MMT, Chen began to recruit ranking engineers and team
14   leaders from MMT to UMC. Chen did so with the knowledge and intent that those MMT personnel
15   would use Micron trade secrets obtained during their time at MMT for the benefit of UMC and
16   Jinhua. Later, in or around February 2017, Chen became President of Jinhua while retaining his
17   role as Senior Corporate Vice President of UMC.
18          15.      Co-Conspirator Rong is UMC’s Assistant Vice President, with oversight
19   responsibility over four divisions and approximately sixty UMC employees. After Chen joined
20   UMC as Senior Vice President, he assigned Rong to serve as Assistant Vice President of Project
21   Technology Management Department 2 (“PM2”) – a critical division in UMC’s NBD group.
22   Thereafter, Rong knowingly conspired with UMC and Chen and directed the misappropriation
23   efforts of at least two other former MMT personnel in order to incorporate Micron’s trade secrets
24   into the technology UMC was developing for Jinhua.
25          16.      Co-Conspirator Ho is a former Process Integration Engineering (“PIE”) Lead at
26   MMT. Chen recruited Ho to work as a Process Integration Manager in UMC’s NBD group. Ho
27   took MMT’s electronic files and paper records – which Taiwanese prosecutors have recognized to
28   include Micron trade secrets – for use at UMC. Ho also took an active role in recruiting at least one
                                                       6                              3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
       Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 7 of 42



 1   other MMT employee to steal Micron trade secrets. Ho is also a named inventor on at least 25
 2   UMC/Jinhua Patent Filings. At the time of the events alleged in this complaint, Ho knew that
 3   Micron was headquartered in Boise, Idaho.
 4          17.        Co-Conspirator Wang is a former Process Integration/Device Section Manager at
 5   MMT. No later than January or February 2016, Chen and Ho began recruiting Wang to UMC.
 6   Wang quickly showed interest, and Ho began treating Wang as a UMC team member months
 7   before Wang had resigned from MMT. On the pretext that he would be joining his family’s
 8   business, Wang submitted a resignation letter to MMT on April 5, 2016 and asked to have April 26,
 9   2016 be his last day. As described below, during the weeks leading up to his last day, Wang
10   worked diligently to steal a massive amount of Micron trade secrets for use at UMC. Two days
11   later, on April 28, 2016, Wang formally joined UMC and was assigned to the PM2 division of the
12   New Business Development Unit. Wang is also a named inventor on at least five UMC/Jinhua
13   Patent Filings.
14                                              Doe Defendants
15          18.        Many facets of the conspiracy described herein likely remain unknown, and the
16   complete list of Co-Conspirators likely extends beyond the individuals and entities identified here.
17   At present, Micron is ignorant of the true names and capacities of such individuals and entities and,
18   therefore, sues them herein under the fictitious names Does 1-10. Micron will amend its Amended
19   Complaint to identify and state applicable claims, as appropriate, against additional individuals or
20   entities as relevant information becomes available through discovery.
21          19.        Each of the Co-Conspirators referenced in this Amended Complaint was an agent,
22   conspirator, aider or abettor of UMC and/or Jinhua. The acts and omissions of each alleged Co-
23   Conspirator were performed within the course and scope of that agency, conspiracy, aiding or
24   abetting. At all relevant times, UMC and Jinhua were each acting with one or more of the Co-
25   Conspirators pursuant to a common scheme, course of action, enterprise, or conspiracy.
26          20.        As used in this Amended Complaint, the term “Co-Conspirators” refers collectively
27   to the Defendants, Co-Conspirator Chen, Co-Conspirator Rong, Co-Conspirator Ho, Co-
28   Conspirator Wang, and the Doe defendants.
                                                        7                              3:17-CV-06932-MMC
                         MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
       Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 8 of 42



 1                                      JURISDICTION AND VENUE
 2          21.      This Court has subject-matter jurisdiction of this case under 28 U.S.C. §§ 1331 and

 3   1338: it is a civil action arising under the laws of the United States – specifically 18 U.S.C.

 4   § 1836(b), 18 U.S.C. § 1962(c), and 18 U.S.C. § 1962(d). While the amount in controversy has not

 5   yet been quantified, it greatly exceeds $75,000. Accordingly, this Court also has subject-matter

 6   jurisdiction on the basis of diversity of citizenship pursuant to 28 U.S.C. § 1332(a)(2). The Court

 7   may also exercise supplemental jurisdiction under 28 U.S.C. § 1367(a).

 8          22.      This Court has specific personal jurisdiction over UMC and Jinhua under Federal

 9   Rules of Civil Procedure, including Fed R. Civ. P. 4(k)(2) which contemplates a defendant’s

10   contacts with the entire United States. UMC and Jinhua have committed intentional acts of trade

11   secret misappropriation and/or concrete acts in furtherance of its conspiracy to commit trade secret

12   misappropriation in the United States and in the Northern District of California. For example,

13   UMC and Jinhua have jointly applied for and obtained numerous U.S. patents that are based on,

14   derived from, contain and disclose Micron’s stolen trade secrets. For further factual allegations

15   regarding UMC and Jinhua applying for and obtaining patents based on Micron’s trade secrets from

16   the United States Patent and Trademark Office, see paragraphs 4 and 92-98 herein.

17          23.      In addition, UMC and Jinhua sent a delegation of executives to Northern California,

18   in this District, for five days, for meetings in furtherance of the UMC/Jinhua DRAM Project.

19          24.      The UMC and Jinhua delegation participated in a job fair hosted by the Chinese

20   American Semiconductor Professional Association (“CASPA”) on October 23, 2016 in Santa

21   Clara, California to recruit engineers from Silicon Valley. UMC and Jinhua held their recruiting

22   event at the Hyatt Regency Santa Clara, 5101 Great America Parkway, Santa Clara, CA 95054. In

23   the course of that job fair, representatives of UMC and Jinhua actively recruited potential hires—

24   highly-skilled DRAM engineers—relying on aggressive development roadmaps and assurances of

25   technical capabilities that were in fact secretly based on Micron’s stolen technology.

26          25.      On information and belief, UMC representatives at the CASPA recruiting event

27   were Senior VP Chen, Recruiting Manager Jennifer Wang, HR Director Jeff Yu, and Project

28   Manager Sandy Kuo, all of whom attended on behalf of Jinhua who sought job applicants for the

                                                         8                              3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
       Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 9 of 42



 1   UMC/Jinhua DRAM Project. Jinhua had three representatives present at the CASPA recruiting
 2   event including Operation Vice President/COO Albert (Kun-Jung) Wu and Zheng Xu who was
 3   Assistant to the President.
 4          26.      Jinhua shipped posters to UMC Group (USA)’s San Francisco office for use at the
 5   recruiting event in Santa Clara, California.
 6          27.      Jinhua was recruiting for engineers at the CASPA job fair with UMC’s help,
 7   support and assistance including provision of manpower for the recruiting event. UMC and Jinhua
 8   jointly prepared material to present to the attendees at the CASPA recruiting event, including
 9   milestone and technology roadmap information.
10          28.      During the presentation, a speaker from Jinhua introduced the plan to manufacture
11   DRAM through Jinhua and to use the DRAM in various products, such as personal computers,
12   automobiles, and consumer devices. On information and belief, the Jinhua speaker was Albert Wu.
13   He stated that Jinhua planned to construct at least two semiconductor fabrication plants (“fabs”),
14   and laid out its plans as follows: Construction of the first fab started on July 16, 2016, pilot runs
15   would start in the fourth quarter of 2017, and production would start in the third quarter of 2018.
16   Construction of the second fab would be completed by December 31, 2018, pilot runs would start in
17   the first quarter of 2019, and production would start in the fourth quarter of 2019.
18          29.      The Jinhua speaker’s presentation is shown in the following photograph taken
19   during the presentation.
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                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 10 of 42



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13          30.     As can be seen in the photograph above, the Jinhua speaker went on to talk about

14   the technology types that Jinhua planned to use for its DRAM productions and referred to them as

15   “F32”, “F32S” and “1x”.

16          31.     During the presentation, an audience member asked the Jinhua speaker how Jinhua

17   could manufacture DRAMs since they did not appear to have the technology. The Jinhua speaker

18   stated that Jinhua was not concerned about DRAM technology development because UMC would

19   provide the technology; however, Jinhua would need many new employees experienced in DRAM

20   technology to effectively carry out its DRAM manufacturing plans with the UMC technology.

21          32.     Subsequently, Chen took over the presentation to explain the DRAM technology

22   development. He mentioned that “F32” referred to the 25nm node process and “F32S” referred to

23   the 20nm process. Chen stated that UMC had started developing its 25nm DRAM technology, and

24   would have the technology ready when Jinhua’s first fab construction was completed in 2018.

25   Chen also stated that UMC would transfer the 25nm DRAM technology to Jinhua during the third

26   quarter of 2018 for pilot runs and then mass production. According to Chen, Jinhua would start

27   mass production of DRAM chips using the 25nm node process (i.e., F32) in the first quarter of

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                                                     10                            3:17-CV-06932-MMC
                      MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 11 of 42



 1   2019 and would begin using the 20nm node process (i.e., F32S) in 2020, as can be seen in the
 2   following photo taken during Chen’s presentation.
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17          33.     On information and belief, at this recruiting event, Chen stated that UMC had

18   transferred 25nm and F32 DRAM design technology to Jinhua.

19          34.     After the presentation at this recruiting event, Jinhua and UMC personnel answered

20   questions and collected resumes. During the Q&A section of this job fair, Chen added information

21   on behalf of UMC regarding the technical collaboration timeframe of the UMC/Jinhua DRAM

22   Project. Chen added information regarding the technical development which was done by UMC

23   and the plan for 300 people being involved in R&D activities at UMC for the UMC/Jinhua DRAM

24   Project. Chen also gave a description of the joint development between UMC and Jinhua.

25          35.     At the job fair, UMC and Jinhua recruited for job openings in Research &

26   Development including DRAM Process Technology, DRAM Product Design, DRAM Device

27   Design; in Production Technology including DRAM Process, DRAM Equipment, DRAM Process

28   Integration, and Testing and Sales & Marketing. Jennifer Wang and Sandy Kuo of UMC collected
                                                     11                            3:17-CV-06932-MMC
                      MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 12 of 42



 1   and reviewed resumes and conducted interviews at the CASPA recruiting event on behalf of UMC
 2   and Jinhua.
 3          36.      By seeking to recruit employees in the United States to assist in producing products
 4   that incorporate Micron’s trade secrets, UMC and Jinhua each engaged in acts in furtherance of
 5   misappropriation of Micron trade secrets. Micron is informed and believes that while participating
 6   in this recruiting event in this District, UMC and Jinhua were in continuous possession of stolen
 7   Micron trade secrets. For further factual allegations regarding this recruiting as acts in furtherance
 8   of misappropriation, see paragraphs 80-82 below.
 9          37.      On the same trip to this District, on October 24, 2016 the delegation of UMC and
10   Jinhua executives visited major semiconductor equipment vendors in Northern California to discuss
11   the UMC/Jinhua DRAM Project. The delegation visiting the equipment vendors consisted of ten
12   individuals from UMC and Jinhua – including shareholders of Jinhua from the government of
13   China. This delegation included Chen, Jennifer Wang, Sandy Kuo, Jeff Yu, Albert Wu, and the
14   mayors from the PRC cities of Jinjiang and Quanzhou. Micron is informed and believes that while
15   visiting the equipment vendors in this District, UMC and Jinhua were in continuous possession of
16   stolen Micron trade secrets.
17          38.      These vendors make and sell equipment used for the manufacture of DRAM. On
18   information and belief, the UMC and Jinhua delegation visited Applied Materials in Santa Clara,
19   California, KLA-Tencor in Milpitas, California and Lam Research in Fremont, California – all in
20   this District. In these meetings, Jinhua made presentations to the vendors and UMC participated as
21   Jinhua’s technical partner. In these meetings with the equipment vendors, Chen provided the
22   vendors with information related to the UMC/Jinhua DRAM Project and the technology
23   cooperation in particular, as well as the DRAM technology and roadmap. During the October 2016
24   trip to this District, the UMC/Jinhua delegation also had dinner with people from Applied
25   Materials.
26          39.
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                                                        12                              3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 13 of 42



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14          42.     UMC/Jinhua placed orders for DRAM manufacturing equipment with these
15   vendors. The vendors performed tool demonstration work for the UMC/Jinhua DRAM Project.
16   UMC used equipment purchased from these vendors on the UMC/Jinhua DRAM Project. Jinhua
17   paid for and provided UMC with this equipment that UMC used, while UMC paid for the operation
18   and maintenance of the equipment. Jinhua has ordered and purchased equipment from those
19   vendors to support the venture. Jinhua’s ordering of equipment from these vendors for the
20   UMC/Jinhua DRAM Project began in 2018.
21          43.
22                                                              The VIISta Trident system is described
23   by Applied Materials as the semiconductor industry’s most advanced single-wafer high-current ion
24   implantation solution, leveraging the VIISta high-current ion implant platform’s production-proven,
25   single-wafer architecture to set new benchmarks for energy purity, uniformity, and angle and dose
26   rate control to meet advanced node requirements with high yield and the highest
27   productivity.” http://www.appliedmaterials.com/products/varian-viista-trident
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                                                      13                               3:17-CV-06932-MMC
                      MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 14 of 42



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 3                Applied Materials described the Centris as “The newest of our semiconductor
 4   processing platforms, the Centris clusters up to six independent process chambers and two plasma
 5   clean chambers, uniquely incorporated into the vacuum loadlocks, around a high-speed transfer
 6   robot that enables throughput of up to 180 wafers per hour – nearly twice that of competing
 7   alternatives.” http://www.appliedmaterials.com/semiconductor/products/centris/info. Applied
 8   Materials stated in regard to Sym3, “The redesigned Sym3 chamber environment makes possible
 9   process control to within a few atomic layers within chip, chip to chip, and wafer to wafer. The
10   Centris platform delivers the excellent repeatability and high productivity demanded for high-
11   volume manufacturing through system intelligence software that ensures exact process matching
12   among the six etch chambers and between the two plasma clean chambers mounted on the
13   platform.” http://www.appliedmaterials.com/products/centris-sym3-etch
14          45.
15

16          46.      These are additional acts in furtherance of misappropriation of Micron trade secrets
17   by UMC and Jinhua. For further factual allegations regarding these visits to major semiconductor
18   equipment vendors, see paragraphs 83-84 below.
19          47.      UMC and Jinhua intentionally aimed their misconduct at the United States. Wang,
20   in furtherance of the conspiracy, stored a cache of stolen Micron trade secrets in the United States,
21   when he uploaded them onto cloud storage hosted on U.S.-based servers. On information and
22   belief, Wang stole “over 900 confidential and proprietary files belonging to Micron” and
23   “upload[ed] the files to his personal Google Cloud account stored on servers in the United States”
24   (U.S. Civil Action at ¶ 24; see also U.S. Indictment at ¶ 28), and Wang improperly downloaded
25   over 1,200 confidential Micron technical files – mostly during his last days at MMT. Of those files,
26   Wang downloaded at least 174 directly from Micron’s Sharepoint system which is hosted
27   exclusively on U.S. servers. Forensic analysis confirms that many of these files came from
28   Micron’s servers in Boise, Idaho, establishing that Wang repeatedly accessed U.S. servers that host
                                                        14                             3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 15 of 42



 1   Micron’s Research and Development CAD system – access that Wang gained by specifically
 2   requesting a “New Boise Linux Account” from Micron – after he had already agreed to join UMC.
 3   Wang specifically requested access to Micron’s Boise-based CAD system so that he could remotely
 4   view (and make screenshots) of the CAD drawings of Micron’s DRAM chips.
 5          48.      Chen, Ho, and Wang knew full well that there was an overwhelming likelihood that
 6   at least some of the Micron technology they were acquiring for UMC was coming from the United
 7   States. Each time MMT employees access their company computers, a system initiation banner
 8   advises that they are accessing the data network of the U.S. parent entity “Micron Technology,
 9   Inc.” Similarly, the Micron Code of Conduct—which is a condition of each MMT employee’s
10   employment—expressly advises that Micron is a U.S. company and that the conduct of MMT
11   employees may be governed by U.S. law. UMC’s agents were on notice their misappropriation
12   could reach into the U.S. and be punished by U.S. authorities.
13          49.      Forensic evidence documenting Wang’s access to Micron’s U.S. servers, and
14   Wang’s responsibilities as a Site Collection Administrator (“SCA”) for Micron’s SharePoint
15   system, confirm that Wang knew his misappropriation efforts directly targeted U.S. servers. Wang
16   was the SCA for his Process Integration Group. As such, he had principal responsibility for
17   managing the site quota and the content contained on the group’s SharePoint site, and was
18   responsible for contacting Micron’s Boise-based IT service desk on behalf of other process
19   integration engineers. As a SCA, he had access to repeated corporate trainings on SharePoint—
20   including trainings in which Micron expressly stated that all SharePoint servers were consolidated
21   in a single Boise location. Wang’s own correspondence confirms he was sophisticated in Micron’s
22   network, putting him on notice that central SharePoint resources were based in the United States.
23          50.      Wang’s own emails show that he contacted Micron’s Boise-based system
24   administrators to access Micron’s Boise-based R&D CAD servers in January 2016—shortly after
25   he began discussions with UMC and just before transferring from MMT’s Process Integration
26   Group into the Quality Assurance Group, where access to highly confidential CAD designs should
27   not have been necessary. Micron’s system administrators advised Wang that he did “not have an
28   account on the R&D Boise network” and that an account required supervisor approval. Id.
                                                       15                            3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 16 of 42



 1   (emphasis added). Knowing the R&D CAD system contained some of Micron’s most confidential
 2   trade secrets, Wang contacted Sanderson Wu—the supervisor for his outgoing role in process
 3   integration—to improperly obtain access. The Boise-based system administrators then responded
 4   to Wang in an email captioned “New Boise Linux account for you.” There they advised him of his
 5   new username and password, and explained that the IP address to which he had been attempting to
 6   connect was incorrect and by identifying the correct address.
 7          51.      Wang connected to the Boise server to access Micron’s R&D CAD system on no
 8   less than 28 separate days—including on the very last day he was at Micron, while acting as a
 9   UMC “team member”. At the same time Wang was knowingly accessing those Boise servers,
10   Wang was also operating screen-capture software that allowed him to snip images of the files he
11   had been viewing for later export, and in fact he created a folder called “25nm 4G3D CAD data” on
12   his personal Google Drive account.
13          52.      Micron alleges on information and belief that Wang used his UMC-assigned laptop
14   to access his Google Drive stored on U.S.-based servers, Wang downloaded a copy of Micron trade
15   secret information, and Wang referenced the Micron trade secret information to assist UMC with its
16   F32 DRAM design rule. On information and belief, UMC employees were directed to use the
17   information Wang provided to complete UMC’s F32 DRAM design rule. On information and
18   belief, both Micron’s trade secret information and UMC’s F32 DRAM design rule were stored in
19   Wang’s Google Drive, and a comparison of the two shows Micron’s trade secret information being
20   used in UMC’s F32 DRAM design rule document.
21          53.      At the time Ho left MMT, Ho knew of Micron’s policy that departing employees
22   are not to take Micron confidential information with them when they leave Micron. Ho knowingly
23   took Micron confidential information with him at the time he departed MMT in violation of
24   Micron’s policy.
25          54.      While employed at UMC, Ho stored more than 20,000 files containing Micron
26   information in his possession on a USB flash drive, and Ho kept a copy of the same 20,000 Micron
27   files on a Transcend hard disk drive as a back-up.
28
                                                          16                        3:17-CV-06932-MMC
                        MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 17 of 42



 1          55.      UMC improperly had possession of internal confidential Micron documents that
 2   came from Boise, Idaho including, for example, a document titled "DRAM Probe Bins Training for
 3   MMJ. Last update: 12/6/13" which stated on it “Fab 4, training and documentation”. UMC
 4   personnel, including Ho, knew that Micron’s Fab 4 fabrication facility was located in Boise, Idaho.
 5          56.      While employed at UMC, Ho reviewed and accessed Micron confidential
 6   information on the USB flash drive and the hard disk drive.
 7          57.      While employed at UMC and working on DRAM development at UMC, Ho had
 8   possession of Micron process travelers containing Micron’s trade secrets for manufacturing
 9   DRAM. These process travelers defined Micron’s flow and sequence for hundreds of process steps
10   for manufacturing DRAM.
11          58.      UMC discovered that Ho possessed more than 20,000 Micron files on external
12   drives while employed by UMC. UMC did not discipline Ho for possessing the more than 20,000
13   Micron files.
14          59.      In addition, on information and belief, UMC continually engages in other
15   commercial activities in the United States, whereby it purposefully avails itself of the protections of
16   U.S. law. In fact, on August 14, 2014, Micron and UMC entered into a non-disclosure agreement
17   to protect the parties’ respective confidential information – none of which concerned DRAM
18   technology. In that contract, the parties expressly agreed that the agreement should be governed by
19   and construed under the laws of California. What is more, UMC reported roughly $1.8 billion in
20   sales into the United States through its U.S. subsidiary, UMC Group (USA), which is located in the
21   Northern District of California. UMC recently noted that 43% of its foundry sales are in North
22   America, and those sales are primarily in the United States.
23          60.      Because Defendant Jinhua is only indirectly owned by Fujian Province in the
24   People’s Republic of China, it does not qualify as an agency or instrumentality of a foreign
25   sovereign. Accordingly, the Foreign Sovereign Immunities Act, 28 U.S.C. §§ 1602-1611 is not
26   implicated in this action. Moreover, the claims made herein are based upon Jinhua’s commercial
27   activity carried out in the United States; upon its acts performed in the United States in connection
28
                                                        17                             3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 18 of 42



 1   with commercial activity elsewhere; and upon its commercial activity outside the United States
 2   which activity causes a direct effect in the United States.
 3          61.      Much of the most important evidence of misappropriation by UMC and Jinhua is in
 4   the United States—from technical details about Micron’s technology, to the measures Micron took
 5   to protect its secrets, to the forensic evidence of defendants’ misappropriation, to the economic
 6   damage that UMC’s and Jinhua’s misconduct has caused to Micron.
 7          62.      Through their trade secret misappropriation scheme, UMC and Jinhua have caused
 8   Micron considerable harm in California (where Micron maintains a facility in Milpitas, located in
 9   this District, which employs roughly 450 professionals including the executive leadership of the
10   company and business units that market Micron’s DRAM products), in Boise, Idaho (Micron’s
11   corporate domicile), and elsewhere in the United States.
12          63.      Additional allegations supporting the exercise of personal jurisdiction over UMC
13   and Jinhua are set forth below.
14          64.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) or, alternatively,
15   28 U.S.C. § 1391(b)(3).
16                                       GENERAL ALLEGATIONS

17          65.      As Taiwanese and U.S. prosecutors have recognized, Micron and its affiliates have

18   implemented a robust and effective system for controlling access to Micron’s proprietary

19   information:

20           a.      Micron stores its trade secrets on secure computers that require password-

21                   protected access; such access is only supplied to employees and consultants

22                   who have obligations of confidentiality to Micron including signed

23                   confidentiality agreements and similar additional measures.

24           b.      Micron requires password protection for both on-site network access and

25                   off-site remote network access. Micron-issued laptops use industry-

26                   standard encryption protections, such as Bit Locker, to encrypt laptop

27                   content.

28
                                                        18                             3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 19 of 42



 1           c.      All Micron personnel are required to protect Micron trade secrets according
 2                   to Micron’s Business Code of Conduct, and each Micron employee must
 3                   certify adherence to that Code.
 4           d.      Additional documents requiring that Micron’s trade secrets be held in
 5                   confidence include, but are not limited to, Micron employment agreements,
 6                   Micron’s employment handbooks (including Micron’s Taiwan Employment
 7                   Handbook), Micron’s local work rules (including Micron’s Taiwan Work
 8                   Rules), and employee termination agreements.
 9           e.      Micron personnel are required to complete a series of training courses
10                   addressing the confidentiality of Micron information. Such training courses
11                   include Protecting Proprietary Information and Information Security at
12                   Micron.
13           f.      Micron implements badge-controlled access to all Micron facilities.
14           g.      Micron routinely reminds employees of their confidentiality obligations and
15                   the importance of protecting trade secrets – including each time an
16                   employee accesses Micron’s computer network.
17           h.      Micron marks documents with confidentiality notices such as “Micron
18                   Technology, Inc., Confidential and Proprietary” and “Micron Confidential /
19                   Do Not Duplicate.”
20          66.      Unfortunately, even those extensive protections could not prevent the concerted
21   criminal conspiracy to steal Micron technology described in this Amended Complaint.
22          67.      Beginning at least as early as 2015, UMC and the founders of Jinhua developed and
23   set in motion a plan to induce former MMT employees to misappropriate Micron trade secrets and
24   deliver those trade secrets to UMC, which UMC would then transfer to Jinhua. Under the
25   UMC/Jinhua DRAM Project – to which the Defendants agreed in principle by January 2016 –
26   UMC would provide Jinhua with advanced DRAM technology in exchange for $300 million in
27   R&D equipment, $400 million in development fees, co-ownership of the resulting technology, and
28   the potential for additional future licensing revenues.
                                                        19                           3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 20 of 42



 1          68.     However, as a semiconductor foundry with no advanced DRAM process, UMC had
 2   no realistic capability to fulfill its commitments under their agreement. Jinhua knew that UMC did
 3   not possess the technological resources to develop the promised technology by itself, and
 4   understood that the technology would be based substantially on Micron’s DRAM designs and
 5   processes.
 6          69.     Under Chen’s leadership, UMC targeted the Micron entity and fab that Chen knew
 7   best: Rexchip, now MMT. Chen had resigned from MMT on August 31, 2015, and officially
 8   joined UMC weeks later. In his role as Senior Vice President at UMC, Chen headed the NBD
 9   group and held ultimate responsibility for its three technology divisions, including PM2. With
10   years at the helm of Rexchip and MMT, Chen had a wealth of knowledge on virtually every aspect
11   of MMT’s business – from technical details on Micron’s DRAM design and process to Micron
12   know how on manufacturing optimization, yield management, and product testing and quality.
13   Chen quickly used his connections within MMT to recruit various MMT personnel with access to
14   Micron trade secrets regarding many of the engineering and production challenges UMC’s NBD
15   group would inevitably face. Those recruits included Ho and Wang – both of whom would later
16   work together on process integration problems at UMC’s PM2.
17          70.     Within weeks of Chen’s official start date at UMC, Ho also resigned from MMT.
18   Upon leaving, Ho took with him both electronic and hard copies of Micron’s proprietary
19   information, in clear and intentional violation of Micron and MMT’s corporate policies. As
20   Taiwanese authorities later explained, Ho then brought those trade secrets to UMC:
21                  Because of his position as the section chief of MMT’s mass
                    production department, JT Ho logged into [MMT’s] controlled
22                  server to access electronic records relating to the DRAM production
                    process, which is MTI’s trade secret (“Electronic Record A”). He
23                  copied the records to his own USB . . . and personal hard drive . . .
                    for his reference any time during work, and possessed the hardcopy
24                  documents containing MTI’s trade secrets . . . collectively referred
                    to as “Paper Documents B[.]”
25
                                                  [//]
26
                    Subsequently on October 15, 2015 when JT Ho resigned from
27                  MMT, he did not destroy Electronic Record A and Paper Documents
                    B in accordance with the agreements. JT Ho joined UMC in
28                  November 2015 and became the Process Integration1 Manager

                                                         20                          3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 21 of 42



 1                     under PM2 in April 2016. In January 2016, JT Ho was aware that
                       UMC started to carry out the cooperation project with Jinhua and
 2                     became MTI’s competitor, and he was aware that the Electronic
                       Record A and the Paper Document B he possessed could contribute
 3                     to UMC’s and Jinhua’s mass production of DRAM in Mainland
                       China. Instead of deleting or destroying Electronic Record A and
 4                     Paper Documents B, JT Ho reviewed Electronic Record A using his
                       UMC issued laptop . . . during the period from January 2016 to
 5                     February 7, 2017 (the date when [Prosecutors] conducted the
                       search). During this period, he also brought Paper Documents B to
 6                     the PI1 office for use.1
 7
            71.        In January or February 2016, Ho began efforts to recruit Wang, MMT’s Process
 8
     Integration/Device Section Manager. With help from Ho, Wang submitted his résumé to UMC.
 9
     Wang later visited UMC, where Rong interviewed him. UMC and Wang agreed that Wang would
10
     be hired with the same salary and benefits as he had at MMT, but that if Wang impressed Jinhua
11
     and took a job in Mainland China, he would sign another contract with Jinhua and earn
12
     substantially more. As Taiwanese prosecutors would later explain:
13
                       Subsequently on March 25, 2016, Kenny Wang received an Offer
14                     Letter from UMC, and informed JT Ho. . . . JT Ho thus started
                       treating Kenny Wang as a team member of UMC and discussed . . .
15                     the issues that UMC had in developing DRAM technologies. Kenny
                       Wang submitted his resignation letter to MMT on April 5, 2016 and
16                     left the company on April 26, 2016 upon the company’s approval.
                       From April 16 to 23, 2017, being fully aware that MTI and UMC are
17                     competitors in the development and manufacturing of DRAM and
                       with the intent to use the information in Mainland China and to
18                     damage MTI’s interest, Kenny Wang abused his authorization as the
                       Product Quality Integration Manager by using MMT’s laptop . . . to
19                     log on to MMT’s server and to access MTI’s electronic information
                       relating to the method, technology, process and design of DRAM
20                     (“Electronic Record C,” including a total of 931 files), which are
                       protected trade secrets and copyrighted works. He stored Electronic
21                     Record C onto the abovementioned laptop, transferred it to a USB
                       storage device . . . and then to two of his own laptops . . . and also
22                     uploaded it to his Google Drive . . . .2
23
            72.        In short, Wang spent his last days at MMT in a frenzied dash to pillage as much of
24
     Micron’s confidential data as possible. On information and belief, Wang did so at the direction of
25
     one or more of his Co-Conspirators. Wang copied stolen files to one or more removable drives,
26
     including by using his work-issued laptop. He also uploaded the stolen trade secrets to a Google
27           1
                 Indictment (Exs. 1 and 2) at 4.
28           2
                 Indictment (Exs. 1 and 2) at 5.
                                                         21                             3:17-CV-06932-MMC
                         MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 22 of 42



 1   drive. On information and belief, those stolen trade secrets stored on the Google drive were located
 2   on servers located in the United States.
 3          73.      The stolen trade secrets covered the gamut of technologies necessary for UMC to
 4   deliver its promised DRAM process to Jinhua. The stolen trade secrets included:
 5           Information disclosing Micron’s DRAM manufacturing and testing processes;
 6           Wafer acceptance test files including test structures/data and layout regarding areas
 7                   destroyed in processing;
 8           Test programming files;
 9           Probe performance and parametric tests showing testing and yield;
10           Test results;
11           Process information for 30nm, 25nm, 20nm, 1Xnm process nodes;
12           Metallization process and layout;
13           Failure-analysis information;
14           Reticle specification files; and many others.
15          74.      After the initiation of this action, Micron discovered, through forensic evidence and
16   limited jurisdictional discovery, that Defendants stole thousands of confidential Micron files that
17   detail Micron’s trade secret DRAM process and design technologies, including, but not limited to:
18   (1) Micron’s manufacturing processes as described in Micron’s process travelers and other process
19   documentation; (2) Micron’s design rules, including electrical design rules and geometrical design
20   rules; (3) Micron’s layout, masks and reticle specification files; (4) Micron’s in-line testing
21   processes; (5) Micron’s wafer acceptance testing technology; (6) Micron’s wafer sort flow; and
22   (7) Micron’s failure analysis and yield-enhancement data.
23          75.      With full knowledge of his wrongdoing, Wang, working as a “team member” of
24   UMC, also took a number of steps to try to deceive Micron and cover his tracks. Before returning
25   his MMT-issued laptop, Wang attempted to wipe his laptop of any incriminating evidence. On
26   April 23, 2016, he performed Google searches on such terms as “Clear computer data” and “Clear
27   computer use records”, and he accessed various blogs on how to permanently erase a computer
28   system. Later he downloaded and ran software called “CCleaner” in an attempt to wipe his laptop.
                                                        22                              3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 23 of 42



 1   In addition, at his exit interview, on April 26, 2016, Wang lied and reported that he was leaving
 2   MMT to go to his hometown to join the family business, when in fact he planned to formally join
 3   UMC only two days later.
 4          76.      Across the Taiwan strait, Jinhua laid the groundwork for its manufacturing
 5   operations. On July 16 and 17, 2016, Jinhua held a public groundbreaking event for its DRAM
 6   factory. The keynote speakers announced that the project was unique as the largest state-owned
 7   production base for specialty DRAM products. They highlighted that, in its early stages, the Jinhua
 8   project would mainly adopt technology obtained from UMC and that UMC had started talent
 9   acquisition work in Taiwan and other regions. In effect, Jinhua acknowledged that its partner,
10   UMC, lacked the technical wherewithal for the project and would have to “acquire” the necessary
11   talent from other companies in Taiwan and elsewhere. Some participants expressed pessimism,
12   fearing that the officials running Jinhua might underestimate the gap between China’s
13   semiconductor industry and established semiconductor leaders with decades of investments in
14   DRAM technology. In the view of some, the gap was too great to overcome.
15          77.      UMC and its Co-Conspirators, however, lost little time trying to narrow that gap
16   illegally – by incorporating the stolen Micron trade secrets. The Indictment issued by Taiwanese
17   authorities captures at least part of the misappropriation scheme in graphic detail:
18                   Subsequently one day in July or August 2016, when attending the
                     PM2 morning meeting held by Leh-Tian Rong, Kenny Wang was
19                   asked to stay in the meeting room with Ming-De Wei (the manager
                     of PI2) after the meeting and discuss the draft of the F32 DRAM
20                   design rules presented by Wei. Because UMC has specialized as a
                     logic process foundry in the past and has no DRAM-related
21                   designer’s manual, PI2 had to use a 65nm logic process designer’s
                     manual as its blueprint.
22
                                                    [//]
23
                     The abovementioned draft therefore lacked the necessary parameters
24                   of “Cell,” “Array” and “Periphery” in the DRAM design rules.
                     Kenny Wang thus provided his comments on ion-implantation
25                   process parameters (a key process to control doping in
                     semiconductor manufacturing). Leh-Tian Rong, albeit fully aware
26                   that Kenny Wang left MMT nearly six months previously and that
                     the MMT information Kenny Wang possessed was likely obtained
27                   illegally, asked Kenny Wang to compare the F32 DRAM design
                     rules of UMC with MMT’s materials (i.e. the DR25nmS design
28                   rules), circle out the differences between the two, write down

                                                           23                          3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 24 of 42



 1                     [MMT’s] “stabilization data” on UMC’s draft design rules, fill in
                       necessary parameters relating to ion-implantation which cannot be
 2                     obtained through reverse engineering, and help complete the parts
                       including “Cell”, “Array”, and “Periphery” for Rong’s review, so
 3                     that UMC can complete the F32 DRAM design rules more quickly.
 4                                                  [//]

 5                     Two to three days after Kenny Wang received the said instructions
                       from Rong, he downloaded UMC’s final version of the logic IC
 6                     design rules, created columns for “Cell,” “Array” and “Periphery”
                       and filled in parameters for “width” and “space” on more than 10
 7                     pages of UMC’s final version of the design rules, using the
                       DR25nmS design rules as a reference. Kenny Wang quickly
 8                     completed the addition and revision of the parameters and handed in
                       the hard copies containing the parameters of the DR25nmS design
 9                     rules to Leh-Tian Rong in person.3
10
            78.        The Micron trade secrets that Wang stole proved invaluable to UMC’s development
11
     effort and critical to the timeline of the Jinhua DRAM project. As Taiwanese prosecutors have
12
     concluded:
13

14                     Rong handed [the hard copies] to Wei and told Wei to discuss them
                       with Kenny Wang. Wei, unaware of the foregoing, discussed the
15                     stability . . . parameters of UMC’s F32 DRAM design and other
                       parameters with Kenny Wang and Wu Kuo-How, an engineer of
16                     PI2, and completed UMC’s F32 DRAM design rules. Originally
                       UMC had no mask tape out team or ion-implantation specialists.
17                     After Kenny Wang provided the DR25nmS design rules production
                       parameters, PI2 skipped processes such as the optical lithography
18                     adjustment, etching and yellow light processes when developing the
                       F32 DRAM. The design rules were completed within only 2 months
19                     and handed to the chip design manufacturer for the next step. Kenny
                       Wang was promoted to Device Manager in January 2017 for
20                     excellent performance in reducing the time, costs, equipment and
                       labor in producing the design rules.4
21
            79.        These acts of misappropriation were encouraged and directed by UMC, Chen and
22
     Jinhua. Indeed, in July 2016 – the same period in which Rong and Wang were actively
23
     incorporating Micron’s trade secrets into UMC’s DRAM design rules – Chen is reported to have
24
     made a presentation to the Hefei Economic Development Board, the governance board for a
25
     Mainland development zone near where construction on Jinhua’s DRAM project had recently
26

27           3
                 Indictment (Exs. 1 and 2) at 6.
28           4
                 Id. at 6-7.
                                                           24                        3:17-CV-06932-MMC
                         MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 25 of 42



 1   begun. During that presentation, Chen reportedly told one or more members of the Development
 2   Board that he was using “Rexchip” (now Micron) technology at UMC. He reportedly admitted that
 3   UMC itself preferred not to have its name attached to Chen’s presentation because of concerns over
 4   legal liability.
 5           80.        The Co-Conspirators took steps in furtherance of the conspiracy in the United
 6   States as well. In June 2016, Jinhua posted material on the U.S.-based organization CASPA’s
 7   website advertising numerous Jinhua job openings in a variety of DRAM positions, including
 8   process and design R&D, manufacturing, DRAM yield and process optimization, and DRAM
 9   testing. In October 2016, UMC and Jinhua sent a travelling delegation to Silicon Valley, including
10   seven UMC and Jinhua executives, led personally by Chen, to recruit experienced semiconductor
11   engineers from the U.S. for the UMC/Jinhua DRAM Project. The job fair was hosted by CASPA
12   and sponsored by Jinhua. Approximately 60-80 engineers attended the CASPA event, and UMC on
13   behalf of Jinhua interviewed roughly 20 of them, many residing in Northern California. Resumes
14   and LinkedIn biographies of at least six of the applicants for jobs with the UMC/Jinhua DRAM
15   project from the CASPA recruiting event show that they reside in Northern California and in this
16   District. Chen himself contributed to Jinhua’s presentation, providing a technology-transfer
17   roadmap and fielding questions from the audience and prospective hires. During Jinhua’s
18   recruiting presentation, Jinhua’s representative unveiled the project timetable and technology
19   roadmap, which reflected that the first DRAM devices slated for manufacture were designated “F32
20   nm” and “F32S nm”—the very products whose aggressive production schedule had been made
21   possible by the misappropriation from Micron. Because Micron is the only DRAM manufacturer in
22   the world headquartered in the United States, the Co-Conspirators knew or expected that some or
23   all of their recruits would come from Micron. On information and belief, the Co-Conspirators also
24   knew and intended that the recruitment of top talent in Silicon Valley would enable UMC and
25   Jinhua to make optimal use of Micron’s trade secrets in the development and operation of Jinhua’s
26   DRAM project.
27           81.        During the presentation, UMC and Jinhua emphasized that Jinhua’s first fab would
28   start its pilot run by the fourth quarter of 2017, with mass production of its first DRAM product
                                                         25                            3:17-CV-06932-MMC
                          MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 26 of 42



 1   beginning only one year later. This ambitious roadmap, which would tend to assuage any concerns
 2   of job candidates that the project was distant or speculative, would not be possible without the use
 3   of the stolen Micron trade secrets. In a shocking admission of their illegitimate intentions, the
 4   slides UMC and Jinhua presented that day openly referred to the venture’s first two DRAM
 5   products as “F32” and “F32S”, which are the exact internal codenames of DRAM products
 6   developed and designed by Elpida (later acquired and owned by Micron), which had been in
 7   production at the Rexchip fab (now Micron’s Fab 16) where Co-Conspirators Chen, Ho, and Wang
 8   all previously worked.
 9            82.    The recruiting efforts by UMC and Jinhua described herein and taking place in this
10   District were acts in furtherance of their scheme of misappropriation from Micron.
11            83.    While in the Silicon Valley area, UMC and Jinhua also spent several days
12   conducting business with three specific leading semiconductor equipment vendors – companies
13   based in Northern California, and in this District, and from whom the Defendants ordered and
14   purchased equipment for the UMC/Jinhua DRAM Project, all in furtherance of exploiting Micron’s
15   stolen DRAM technology. Micron learned the identities of these equipment vendors in
16   jurisdictional discovery, but UMC designated their names confidential under the Court protective
17   order.
18            84.    The visits made by UMC and Jinhua to the semiconductor equipment vendors
19   described herein and taking place in this District were acts in furtherance of their scheme of
20   misappropriation from Micron.
21            85.    UMC and Jinhua also continued to work together to poach additional MMT
22   personnel in Taiwan for the UMC/Jinhua DRAM Project in China. Recruiting efforts by Sandy
23   Kuo (“Kuo”) – a UMC Project Manager – provide a graphic example. Before joining UMC, Kuo
24   had been the Manager of Communication and Talent Strategy at MMT, at which time she had
25   reported directly to Co-Conspirator Chen (then, Site Director of MMT). After Chen left MMT for
26   UMC, he recruited Kuo to follow him to UMC in February 2016. In her MMT employment
27   agreement, Kuo had committed, for a period of 12 months after leaving MMT, “not to solicit,
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                                                        26                             3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 27 of 42



 1   encourage or induce or assist any third party to solicit, encourage or induce” other MMT employees
 2   to take employment outside of MMT.
 3          86.      Kuo wasted little time in breaching her non-solicit agreement. In late 2016, she
 4   actively helped Chen to recruit MMT employees for Jinhua – including S.Y. Chen, an MMT
 5   Process Manager with responsibilities in the key process areas of “diffusion” and “wet etch.” In an
 6   email to S.Y. Chen dated November 28, 2016, Kuo underscored how actively involved Jinhua was
 7   in UMC’s improper recruitment efforts: “Stephen [Chen] would like to have more description of
 8   your career in order to clarify your future position and provide to Jinhua investor from China side.”
 9   Kuo even attached a “Jinhua Personnel Sheet” for S.Y. Chen to fill out. Copied on Kuo’s email
10   was Neil Lee, another former senior manager from MMT who had resigned within weeks of the
11   resignation of Ho to join UMC/Jinhua. S.Y. Chen subsequently resigned from Micron to join
12   UMC/Jinhua.
13          87.      Meanwhile, UMC and Jinhua rewarded the individual Co-Conspirators for their
14   contributions to the illegal scheme. After incorporating Micron trade secrets into UMC’s DRAM
15   design rules, Wang was promoted to manager of UMC’s Device Department. On February 22,
16   2017 – shortly after Taiwanese prosecutors raided UMC’s NBD facility – UMC promoted and
17   transferred Chen to serve as President of Jinhua in Mainland China.
18          88.      The Taiwanese criminal authorities launched their first of two raids on UMC’s
19   NBD facility on February 7, 2017. When the authorities arrived on site, UMC’s HR team alerted
20   Rong, who immediately instructed Wang and Ho to delete and remove all information on their
21   systems relating to Micron. Following Rong’s instruction, Wang and Ho handed anything
22   containing incriminating materials, including Wang’s cellphone, to a UMC assistant. The assistant
23   locked the materials in her personal locker and left the UMC facility with Wang’s cellphone.
24   Unbeknownst to Wang, the criminal authorities had previously obtained a search warrant and had
25   been monitoring Wang’s cellphone. When confronted with the fact that the criminal authorities
26   knew about his missing cellphone, Wang lied and said that the assistant borrowed his phone that
27   morning “because she wanted to see some photos.” At the criminal authorities’ insistence, UMC
28   instructed the assistant to return to UMC and hand over the phone, which she then did. The
                                                       27                             3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 28 of 42



 1   assistant later confessed that she committed a crime in attempting to hide evidence. Because she
 2   later cooperated, and because she was pressured into committing the crime by her UMC superiors,
 3   the Taiwanese criminal authorities elected not to indict her (opting to issue a deferred indictment
 4   decision instead).
 5          89.        UMC itself admits that Wang’s conduct constitutes a crime under Taiwanese law.
 6   In an act of apparent desperation, UMC filed its own criminal complaint against Wang, under the
 7   theory that UMC was somehow the victim, rather than the beneficiary and mastermind, of Wang’s
 8   trade secret theft. The Taiwanese criminal authorities rejected UMC’s complaint, ruling UMC was
 9   no victim here.
10          90.        On August 8, 2017, after nearly a year of investigation, the Taiwanese criminal
11   authorities indicted UMC, Rong, Ho, and Wang for conspiring to steal and misappropriate Micron
12   trade secrets in order to deliver that technology to Jinhua to enable it to illegally and unfairly
13   compete in the DRAM business.
14          91.        The criminal investigation and subsequent indictments have not slowed the Co-
15   Conspirators’ efforts. On May 11, 2017, Jinhua announced a partnership with Air Products, a U.S.
16   industrial gas supplier, for Air Products to provide gas supply for Jinhua’s memory fab. Relying on
17   Jinhua’s aggressive DRAM forecasts, which depend on incorporating Micron’s trade secrets, Air
18   Products committed to build a state-of-the-art nitrogen plant to supply a broad range of ultra-high
19   purity gases to Jinhua. In July 2017, Jinhua announced its fab construction was ahead of schedule
20   and kicked off a second wave of recruitment. Even after UMC’s Taiwan Indictment for trade secret
21   theft became public, UMC announced that it was moving ahead full steam with Jinhua and that it
22   was on track to complete the first stage of the project in 2018.
23          92.        Armed with Micron’s trade secrets, UMC and Jinhua have also been applying for
24   and obtaining from the United States Patent and Trademark Office patents that are based on
25   Micron's trade secrets. These UMC/Jinhua Patent Filings, which name UMC and Jinhua as joint
26   assignees, started in September 2016, began publishing in late 2017 and have been publishing at an
27   alarming rate ever since.
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                                                         28                              3:17-CV-06932-MMC
                          MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 29 of 42



 1          93.      To date, Micron has determined that there are at least 117 UMC/Jinhua Patent
 2   Filings, all which were filed after the Defendants stole and had possession of Micron’s trade
 3   secrets. Many of the UMC/Jinhua Patent Filings describe the same or very similar technologies as
 4   described in Micron’s stolen trade secrets. Given the short period of time from when UMC and
 5   Jinhua commenced working on the UMC/Jinhua DRAM Project and the priority dates of the
 6   UMC/Jinhua Patent Filings, Micron pleads on information and belief that the Defendants did not
 7   and could not have independently developed the subject matter described in many of the
 8   UMC/Jinhua Patent Filings.
 9          94.      Moreover, the vast majority of the UMC/Jinhua Patent Filings name former Micron
10   engineers as named inventors, including for example, co-conspirator Ho (named inventor on at least
11   25 UMC/Jinhua Patent Filings), co-conspirator Wang (named inventor on at least 5 UMC/Jinhua
12   Patent Filings) and Neil Lee (named inventor on at least 33 UMC/Jinhua Patent Filings). Notably,
13   Ho, Wang and Lee did not disclose any inventions to Micron during their years of employment at
14   Micron, yet in less than a year at UMC and with Micron’s stolen trade secrets in hand, these
15   individuals became named inventors on dozens of UMC/Jinhua Patent Filings. In total, former
16   Micron employees are named inventors on as many as 110 of the 117 UMC/Jinhua Patent Filings
17   now known to exist—almost 95%.
18          95.      At least the following UMC/Jinhua Patent Filings are based on or derived from
19   Micron’s trade secrets:
20                   a.        U.S. Patent No. 9,679,901: The ‘901 Patent is titled “Semiconductor
21   Device and Manufacturing Method Thereof.” It was filed in the United States Patent and
22   Trademark Office on October 18, 2016, and claims priority to a Chinese application filed on
23   September 22, 2016. Co-conspirator Ho is one of the named inventors listed on the front page of
24   the ‘901 Patent. The ‘901 Patent improperly discloses Micron’s trade secret process for forming
25   shallow trench isolation and active areas in a DRAM device. This process and the structures
26   formed by the process are described and disclosed in Micron’s process traveler document for its
27   90 Series (25nm) DRAM products, having the filename “FAB16 90s Traveler-20150518.pdf” at
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                                                        29                            3:17-CV-06932-MMC
                          MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 30 of 42



 1   pages 12-13, 32 and 35-36, and known to be or have been in UMC’s possession through the
 2   wrongful acts of one or more of the co-conspirators alleged herein including at least Wang.
 3                   b.      U.S. Patent Application No. 15/384,940; published as 2018/0108563: The
 4   ‘940 Application is titled “Method of Fabricating Isolation Structure.” It was filed in the United
 5   States Patent and Trademark Office on December 20, 2016, and claims priority to a Chinese
 6   application filed on October 17, 2016. Co-conspirator Ho is one of the named inventors listed on
 7   the front page of the ‘940 Application, as is former Micron employee Neil Lee. The
 8   ‘940 Application improperly discloses Micron’s trade secret process for forming shallow trench
 9   isolation in a DRAM device. This process and the structures formed by the process are described
10   and disclosed in Micron’s process traveler document for its 90 Series (25nm) DRAM products,
11   having the filename “FAB16 90s Traveler-20150518.pdf” at pages 21, 23-27, 30 and 33, and
12   known to be or have been in UMC’s possession through the wrongful acts of one or more of the
13   co-conspirators alleged herein including at least Wang.
14                   c.      U.S. Patent No. 9,773,790: The ‘790 Patent is titled “Semiconductor
15   Device and Method for Forming the Same.” It was filed in the United States Patent and
16   Trademark Office on March 13, 2017, and claims priority to a Chinese application filed on
17   December 9, 2016. Co-conspirator Ho is the first listed inventor on the front page of the ‘790
18   Patent. The ‘790 Patent improperly discloses Micron’s trade secret process for forming
19   connections to storage nodes in a DRAM device. This process and the structures formed by the
20   process are described and disclosed in Micron’s process traveler document for its 90 Series (25nm)
21   DRAM products, having the filename “FAB16 90s Traveler-20150518.pdf” at pages 239, 240, 242
22   and 243, and known to be or have been in UMC’s possession through the wrongful acts of one or
23   more of the co-conspirators alleged herein including at least Wang.
24                   d.      U.S. Patent No. 9,960,167: The ‘167 Patent is titled “Method for Forming
25   Semiconductor Device.” It was filed in the United States Patent and Trademark Office on
26   August 16, 2017, and claims priority to a Chinese application filed on December 9, 2016. Co-
27   conspirator Ho is the first listed inventor on the front page of the ‘167 Patent. The ‘167 Patent
28   improperly discloses Micron’s trade secret process for forming storage nodes in a DRAM device.
                                                        30                             3:17-CV-06932-MMC
                          MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 31 of 42



 1   This process and the structures formed by the process are described and disclosed in Micron’s
 2   process traveler document for its 90 Series (25nm) DRAM products, having the filename “FAB16
 3   90s Traveler-20150518.pdf” at pages 145, 146, 179, 183, 239 and 243, and known to be or have
 4   been in UMC’s possession through the wrongful acts of one or more of the co-conspirators alleged
 5   herein including at least Wang.
 6                  e.      U.S. Patent No. 9,929,162: The ‘162 Patent is titled “Semiconductor
 7   Device and Method for Forming the Same.” It was filed in the United States Patent and
 8   Trademark Office on March 12, 2017, and claims priority to a Chinese application filed on
 9   December 22, 2016. Co-conspirator Ho is one of the named inventors listed on the front page of
10   the ‘162 Patent. The ‘162 Patent improperly discloses Micron’s trade secret process for forming
11   storage node contact plugs in a DRAM device. This process and the structures formed by the
12   process are described and disclosed in Micron’s process traveler document for its 90 Series (25nm)
13   DRAM products, having the filename “FAB16 90s Traveler-20150518.pdf” at pages 13, 135, 142,
14   145, 146 and 176, and known to be or have been in UMC’s possession through the wrongful acts
15   of one or more of the co-conspirators alleged herein including at least Wang.
16                  f.      U.S. Patent No. 9,859,283: The ‘283 Patent is titled “Semiconductor
17   Memory Structure.” It was filed in the United States Patent and Trademark Office on April 5,
18   2017, and claims priority to a Chinese application filed on March 7, 2017. Co-conspirator Ho is
19   one of the named inventors listed on the front page of the ‘283 Patent. The ‘283 Patent improperly
20   discloses Micron’s trade secret process for forming active regions and bitlines in a DRAM device.
21   This process and the structures formed by the process are described and disclosed in Micron’s
22   process traveler document for its 90 Series (25nm) DRAM products, having the filename “FAB16
23   90s Traveler-20150518.pdf” at pages 103 and 104, as well as Micron’s peripheral design rules
24   document for its 90 Series (25nm) DRAM products, having the filename “[DR25nmS] Design
25   Rules Periphery_EES-2012000026-013_Rev.13.xls” at Figure 12-2, and known to be or have been
26   in UMC’s possession through the wrongful acts of one or more of the co-conspirators alleged
27   herein including at least Wang.
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                                                      31                             3:17-CV-06932-MMC
                         MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 32 of 42



 1                  g.      U.S. Patent No. 10,128,251: The ‘251 Patent is titled “Semiconductor
 2   Integrated Circuit Structure and Method for Forming the Same.” It was filed in the United States
 3   Patent and Trademark Office on September 9, 2016. On information and belief, three of the
 4   named inventors listed on the ‘251 Patent, Yu-Ting Li, Jen-Chien Lin and Wen-Chin Lin, are
 5   former employees of Micron Technology. The ‘251 Patent improperly discloses Micron’s trade
 6   secret process for simultaneous array and peripheral structure formation in a DRAM device. This
 7   process and the structures formed by the process are described and disclosed in Micron’s process
 8   traveler document for its 90 Series (25nm) DRAM products, having the filename “FAB16 90s
 9   Traveler-20150518.pdf” at pages 13, 80, 82, 91, and 95, and known to be or have been in UMC’s
10   possession through the wrongful acts of one or more of the co-conspirators alleged herein
11   including at least Wang.
12                  h.      U.S. Patent Application No. 15/854,765; published as 2018/0190538: The
13   ‘765 Application is titled “Method of Fabricating STI Trench.” The application was filed in the
14   United States Patent and Trademark Office on December 27, 2017, and claims priority to a
15   Chinese application filed on December 29, 2016. On information and belief, four of the six
16   inventors listed on the ‘765 Application, Hsien-Shih Chu, Ming-Feng Kuo, Yi-Wang Zhan and Fu-
17   Che (Neil) Lee, are former employees of Micron Technology. The ‘765 Application improperly
18   discloses Micron’s trade secret process for shallow trench isolation formation in a DRAM device.
19   This process and the structures formed by the process are described and disclosed in Micron’s
20   process traveler document for its 90 Series (25nm) DRAM products, having the filename “FAB16
21   90s Traveler-20150518.pdf” at pages 27, 28, 29 and 31, and known to be or have been in UMC’s
22   possession through the wrongful acts of one or more of the co-conspirators alleged herein
23   including at least Wang.
24                  i.      U.S. Patent No. 10,062,700: The ‘700 Patent is titled “Semiconductor
25   Storage Device and Manufacturing Method Thereof.” It was filed in the United States Patent and
26   Trademark Office on March 14, 2017, and claims priority to a Chinese application filed on
27   December 30, 2016. On information and belief, three of the named inventors listed on the
28   ‘700 Patent, Fu-Che (Neil) Lee, Chien-Cheng Tsai and Hsien-Shih Chu, are former employees of
                                                      32                            3:17-CV-06932-MMC
                         MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 33 of 42



 1   Micron Technology. The ‘700 Patent improperly discloses Micron’s trade secret process for
 2   forming storage node cell contacts in a DRAM device. This process and the structures formed by
 3   the process are described and disclosed in Micron’s process traveler document for its 90 Series
 4   (25nm) DRAM products, having the filename “FAB16 90s Traveler-20150518.pdf” at pages 139,
 5   148, 152, 156 and 159, and known to be or have been in UMC’s possession through the wrongful
 6   acts of one or more of the co-conspirators alleged herein including at least Wang.
 7                   j.      U.S. Patent Application No. 15/856,084; published as US 2018/0190657:
 8   The ‘084 Application is titled “Capacitor Structure and Fabrication Method Thereof.” The
 9   application was filed in the United States Patent and Trademark Office on December 28, 2017, and
10   claims priority to a Chinese application filed on December 30, 2016. Former Micron employee
11   Fu-Che (Neil) Lee is one of the named inventors on the ‘084 Application. The ‘084 Application
12   improperly discloses Micron’s trade secret process for forming a capacitor structure in a DRAM
13   device. This process and the structures formed by the process are described and disclosed in
14   Micron’s process traveler document for its 90 Series (25nm) DRAM products, having the filename
15   “FAB16 90s Traveler-20150518.pdf” at pages 197, 199 and 202, and known to be or have been in
16   UMC’s possession through the wrongful acts of one or more of the co-conspirators alleged herein
17   including at least Wang.
18                   k.      U.S. Patent Application No. 15/859,763; published as US 2018/0197863:
19   The ‘763 Application is titled “Method for Fabricating Capacitor.” It was filed in the United
20   States Patent and Trademark Office on January 2, 2018, and claims priority to a Chinese
21   application filed on January 6, 2017. Former Micron employee Fu-Che (Neil) Lee is a named
22   inventor on the ‘763 Application. The ‘763 Application improperly discloses Micron’s trade
23   secret process for fabricating a capacitor structure in a DRAM device. This process and the
24   structures formed by the process are described and disclosed in Micron’s process traveler
25   document for its 90 Series (25nm) DRAM products, having the filename “FAB16 90s Traveler-
26   20150518.pdf” at pages 219, 225, 226, 230-231, 234, 237 and 240, and known to be or have been
27   in UMC’s possession through the wrongful acts of one or more of the co-conspirators alleged
28   herein including at least Wang.
                                                       33                            3:17-CV-06932-MMC
                          MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 34 of 42



 1   For each of these UMC/Jinhua Patent Filings, the Defendants took the egregious action of not only
 2   stealing Micron’s trade secrets, but claiming those stolen trade secrets as their own with the United
 3   States Patent and Trademark Office.
 4          96.      The UMC/Jinhua Patent Filings noted above were filed by United States Registered
 5   Patent Agents from (1) JC Patents, located at 4 Venture, Suite 250, Irvine California; and (2) North
 6   America Intellectual Property Organization (NAIPO), located in Taiwan. The JC Patents registered
 7   U.S. Patent Agents include Jiawei Huang (Reg. #43330, address on file with the United States
 8   Patent and Trademark Office as JC Patents, 4 Venture, Suite 250, Irvine, California 92618 US,
 9   Primary Telephone (949) 660-0761, date registered as agent 04/28/1998). The NAIPO registered
10   U.S. Patent Agents include Xuan Zhang (Reg. # 66781, address on file with the United States
11   Patent and Trademark Office as IntelllFluence Patent Firm, 9910 Baldwin Place, El Monte,
12   California 91731 US, Primary Telephone (626) 628-7931, date registered as agent 07/12/2010) and
13   Scott Margo (Reg. #56277, address on file with the United States Patent and Trademark Office as
14   3305 Northland Dr. Suite 305, Austin, Texas 78731 US, Primary Telephone (512) 459-9292).
15          97.      Both UMC and Jinhua executed a Power of Attorney document enabling their U.S.
16   Patent Agents to prosecute the UMC/Jinhua Patent Filings on their behalf. These Power of
17   Attorney documents, which were filed with the United States Patent Office, were executed by Chia-
18   Tsung Hung, the Chairman of UMC, and by Xu Zheng, the General Manager Assistant of Jinhua.
19   In addition, the named inventors on the UMC/Jinhua Patent Filings executed Declaration and
20   Assignment documents that were also filed with the United States Patent Office transferring their
21   individual rights to UMC and Jinhua, which included an affirmation that the inventors were “the
22   original joint inventor of a claimed invention in the application” and also acknowledged “that any
23   willful false statement made in this Declaration is punishable under 35 U.S.C. 1001 by fine or
24   imprisonment of not more than 5 years, or both.”
25          98.      The U.S. Patent Agents of JC Patents and NAIPO prosecuted each of the
26   UMC/Jinhua Patent Filings on behalf of UMC and Jinhua by corresponding with the United States
27   Patent Office and by filing numerous documents including the above noted Power of Attorney and
28   Declarations, as well as numerous information disclosure statements, application data sheets, and
                                                        34                            3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 35 of 42



 1   responses to Office Actions with claim amendments and arguments in order to secure issuance of
 2   the UMC/Jinhua Patent Filings.
 3              99.       Micron seeks civil redress to the full extent of applicable law.
 4                                                      COUNT I
 5                     Misappropriation of Trade Secrets under the Defend Trade Secrets Act
 6                                                 18 U.S.C. § 1836(b)
 7              100.      Micron repeats, realleges and incorporates herein by reference the allegations of
 8   paragraphs 1 through 99, inclusive, above.
 9              101.      The above alleged facts constitute actual and threatened misappropriation of
10   Micron trade secrets by UMC and Jinhua under 18 U.S.C. §§ 1836 and 1839.
11              102.      At all times relevant to this Amended Complaint, Micron owned the Micron trade
12   secrets as Micron was the entity in which rightful legal or equitable title to the Micron trade secrets
13   is reposed.
14              103.      The Micron trade secrets include scientific, technical, economic, and engineering
15   information. The Micron trade secrets include plans, compilations, program devices, formulas,
16   designs, prototypes, methods, techniques, processes, procedures, programs, and/or codes, which are
17   tangible and/or intangible.
18              104.      Micron has taken reasonable measures to protect the secrecy of the Micron trade
19   secrets.
20              105.      The Micron trade secrets derive independent economic value, actual or potential,
21   from not being generally known to, and not being readily ascertainable through proper means by,
22   another person who can obtain economic value from the disclosure or use of the information.
23              106.      The Micron trade secrets are related to and used in Micron products and services
24   sold or intended for use in interstate or foreign commerce.
25              107.      Micron derives significant economic benefits from owning the Micron trade
26   secrets.
27              108.      The Co-Conspirators improperly acquired, disclosed, used, appropriated, took,
28   carried away, concealed, copied, duplicated, downloaded, replicated, transmitted, sent, uploaded,
                                                             35                              3:17-CV-06932-MMC
                            MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 36 of 42



 1   communicated, or conveyed the Micron trade secrets for the benefit of UMC and Jinhua. They
 2   performed such acts in furtherance of the trade secret misappropriation in at least Taiwan, Mainland
 3   China, the United States and the Northern District of California.
 4              109.   The use of the Micron trade secrets by Co-Conspirators was without Micron’s
 5   authorization. Micron did not consent to their acquisition, disclosure, or use of the Micron trade
 6   secrets.
 7              110.   The Co-Conspirators intended to convert the Micron trade secrets to the economic
 8   benefit of one other than their owner, Micron.
 9              111.   The Co-Conspirators knew and intended that Micron, as the owner of the Micron
10   trade secrets, would be injured by their actions.
11              112.   As a result of the Co-Conspirators’ misappropriation of Micron trade secrets,
12   Micron has suffered actual damages in an amount to be proven at trial.
13              113.   As a result of the Co-Conspirators’ misappropriation, UMC and Jinhua have been
14   unjustly enriched.
15              114.   Micron further pleads entitlement to a reasonable royalty to compensate Micron for
16   UMC’s and Jinhua’s misappropriation of trade secrets.
17              115.   Micron is informed and believes, and thereon alleges, that Defendants’
18   misappropriation of Micron’s trade secrets was willful and malicious based on the facts alleged
19   herein. UMC and Jinhua acted with a purpose and willingness to commit the acts alleged, and
20   UMC’s and Jinhua’s conduct was not reasonable under the circumstances. Micron is therefore
21   entitled to exemplary damages and attorney fees and costs. Micron further seeks exemplary
22   damages against UMC and Jinhua in an amount up to two times the amount of Micron’s actual
23   damages according to proof under 18 U.S.C. § 1836.
24              116.   The misappropriation of the Micron trade secrets has caused and will continue to
25   cause Micron irreparable and substantial injury and therefore cannot be fully redressed through
26   damages alone.
27              117.   If the Co-Conspirators were permitted to continue to use and disseminate the
28   Micron trade secrets, Micron will be irreparably harmed and the economic damages to Micron will
                                                         36                            3:17-CV-06932-MMC
                          MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 37 of 42



 1   be difficult to quantify. An injunction prohibiting UMC and Jinhua from further acquisition,
 2   disclosure, use, and possession of the Micron trade secrets is necessary to provide Micron with
 3   complete relief.
 4          118.        UMC’s and Jinhua’s wrongful conduct alleged herein by their misappropriation of
 5   Micron’s trade secrets will continue unless enjoined and restrained by this Court, and will cause
 6   great and irreparable injury to Micron’s business, and it could cause UMC and Jinhua to have
 7   improper advantages, positions, and rights in the marketplace to Micron’s detriment. Absent
 8   injunctive relief, UMC’s and Jinhua’s further disclosure and use of Micron’s trade secrets could
 9   irreparably harm Micron.
10                                                   COUNT II
11                                                  Civil RICO
12                                              18 U.S.C. § 1962(c)
13          119.        Micron repeats, realleges and incorporates herein by reference the allegations of
14   paragraphs 1 through 118, inclusive, above.
15          120.        The Co-Conspirators formed an association-in-fact enterprise (the “Enterprise”) to
16   engage in activities to affect interstate and foreign commerce by collaborating to misappropriate
17   and use Micron’s trade secrets to manufacture advanced DRAM products in Mainland China for
18   sale and distribution in China and around the world. The Enterprise operated by the Co-
19   Conspirators includes UMC and Jinhua but is separate and distinct from either of them.
20          121.        In furtherance of the Enterprise, the Co-Conspirators intended to and knowingly
21   stole and, without Micron’s authorization, copied, downloaded, uploaded, photocopied, replicated,
22   transmitted, delivered, communicated, or conveyed Micron’s trade secrets.
23          122.        The Co-Conspirators also received, acquired, or possessed Micron’s trade secrets,
24   knowing that they had been stolen, obtained, or converted without Micron’s authorization.
25          123.        The Co-Conspirators intentionally engaged in these acts to benefit UMC and
26   Jinhua, with the knowledge or intent that these acts would injure Micron. They did so at least in
27   Taiwan, Mainland China, the United States and the Northern District of California.
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                                                          37                             3:17-CV-06932-MMC
                          MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 38 of 42



 1          124.     The actions of the Co-Conspirators abroad and in California constitute racketeering
 2   activities in violation of 18 U.S.C § 1832. This pattern of activity poses a threat of continuing
 3   because Jinhua and UMC are continuing to proceed with the production of DRAM products using
 4   Micron’s trade secrets.
 5          125.     UMC benefited from its employees’ and agents’ racketeering activities, and the
 6   racketeering activities of Chen, Rong, Ho, and Wang were committed within the scope of their
 7   employment while at UMC.
 8          126.     As a direct and proximate result of racketeering activities and violations of
 9   18 U.S.C. § 1962(c) by the Co-Conspirators, Micron has suffered economic damages both
10   domestically and abroad, including, but not limited to, injuries in the Northern District of California
11   and in Boise, Idaho, in an amount to be proven at trial.
12          127.     The aforementioned acts of the Co-Conspirators were done willfully, with malice
13   toward Micron, entitling Micron to treble damages, attorneys’ fees, and costs.
14          128.     The racketeering activities and violations of 18 U.S.C. § 1962(c) has caused and
15   will continue to cause Micron irreparable and substantial injury and therefore cannot be fully
16   redressed through damages alone. An injunction prohibiting UMC and Jinhua from further
17   acquisition, disclosure, use, and possession of the Micron trade secrets is necessary to provide
18   Micron with complete relief.
19          129.     If the Co-Conspirators were permitted to continue to engage in their racketeering
20   activities and violations of 18 U.S.C. § 1962(c), Micron would be irreparably harmed and the
21   economic damages to Micron will be difficult to quantify.
22                                                 COUNT III
23                                                 Civil RICO
24                                            18 U.S.C. § 1962(d)
25          130.     Micron repeats, realleges and incorporates herein by reference the allegations of
26   paragraphs 1 through 129, inclusive, above.
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                                                        38                             3:17-CV-06932-MMC
                       MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 39 of 42



 1              131.   The Co-Conspirators have intentionally conspired and agreed to directly and
 2   indirectly participate in the affairs of the Enterprise through a pattern of racketeering activities in
 3   violation of 18 U.S.C § 1832, as described in Count II.
 4              132.   The Co-Conspirators knew that their actions constituted a pattern of racketeering
 5   activities and agreed to those actions in furtherance of, and for the benefit of the Enterprise, as
 6   described in Count II.
 7              133.   The actions of the Co-Conspirators constitute a conspiracy to violate 18 U.S.C
 8   § 1962(c), in violation of 18 U.S.C § 1962(d).
 9              134.   As a direct and proximate result of racketeering activities and violations of
10   18 U.S.C. § 1962(d) by the Co-Conspirators, Micron has suffered economic damages both
11   domestically and abroad, including, but not limited to, injuries in the Northern District of California
12   and in Boise, Idaho, in an amount to be proven at trial.
13              135.   The aforementioned acts of the Co-Conspirators were done willfully, with malice
14   toward Micron, entitling Micron to treble damages, attorneys’ fees, and costs.
15                                                 COUNT IV
16              Trade Secret Misappropriation Under the California Uniform Trade Secrets Act
17                                            Cal. Civ. Code § 3426
18              136.   Micron repeats, realleges and incorporates herein by reference the allegations of
19   paragraphs 1 through 99, inclusive, above.
20              137.   The Micron trade secrets constitute information, including compilations, programs,
21   devices, methods, techniques, or processes that derive independent economic value from not being
22   generally known to the public or other persons who can obtain economic value from the trade
23   secrets’ disclosure.
24              138.   Micron has taken reasonable measures to protect the secrecy of the Micron trade
25   secrets.
26              139.   However, the Co-Conspirators intended to and knowingly stole and, without
27   authorization, disclosed, acquired, used, copied, downloaded, uploaded, photocopied, replicated,
28   transmitted, delivered, communicated, or conveyed Micron’s trade secrets.
                                                         39                               3:17-CV-06932-MMC
                         MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 40 of 42



 1          140.      The Co-Conspirators acquired, used or disclosed Micron’s trade secrets, knowing
 2   that they have been stolen, obtained, or converted without Micron’s authorization. The Co-
 3   Conspirators intentionally engaged in these acts to benefit UMC and Jinhua, with the knowledge or
 4   intent that these acts would injure Micron.
 5          141.      As a direct and proximate result of violations of Cal. Civ. Code § 3426.1 by the Co-
 6   Conspirators, Micron has suffered economic damages both domestically and abroad, including, but
 7   not limited to, in the Northern District of California and in Boise, Idaho, in an amount to be proven
 8   at trial but exceeding $75,000.
 9          142.      The aforementioned acts of the Co-Conspirators were done willfully, with malice
10   toward Micron.
11          143.      As a result of UMC’s and Jinhua’s misappropriation, Micron has suffered actual
12   damages and UMC and Jinhua have been unjustly enriched. Micron pleads in the alternative that, if
13   it is determined that neither actual damages nor unjust enrichment is provable, then Micron is
14   entitled to a reasonable royalty to compensate Micron for misappropriation of trade secrets by
15   UMC and Jinhua.
16          144.      Micron further seek exemplary damages against UMC and Jinhua in an amount up
17   to two times the amount of Micron’s actual damages according to proof under Cal. Civ. Code
18   § 3426.3.
19          145.      Micron is informed and believes, and thereon alleges, that Defendants’
20   misappropriation of Micron’s trade secrets was willful and malicious based on the facts alleged
21   herein. UMC and Jinhua acted with a purpose and willingness to commit the acts alleged, and their
22   conduct was not reasonable under the circumstances. Micron is therefore entitled to exemplary
23   damages, attorney fees, and costs under Cal. Civ. Code § 3426.4.
24          146.      The wrongful conduct and misappropriation of Micron’s trade secrets alleged
25   herein will continue unless enjoined and restrained by this Court, and will cause great and
26   irreparable injury to Micron’s business, and it could cause UMC and Jinhua to have improper
27   advantages, positions, and rights in the marketplace to Micron’s detriment. Absent injunctive
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                                                       40                             3:17-CV-06932-MMC
                        MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
      Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 41 of 42



 1   relief, further disclosure and use of Micron’s trade secrets by UMC and/or Jinhua would irreparably
 2   harm Micron.
 3                                            PRAYER FOR RELIEF
 4           WHEREFORE, Micron respectfully requests that the Court enter judgment against all
 5   defendants as follows:
 6           a.       For actual damages in an amount to be proven at trial;
 7           b.       Restitution, unjust enrichment, and disgorgement of profits from UMC
 8   and Jinhua resulting from misappropriation of Micron’s trade secrets;
 9           c.       Royalties;
10           d.       Entry of an order that restrains and preliminarily enjoins, and a Final
11   Order that permanently enjoins, UMC, Jinhua, and their agents, servants, employees,
12   attorneys, and all persons acting in active concert or participation with them, from the
13   unauthorized acquisition, disclosure, use, duplication, or distribution of the Micron
14   trade secrets;
15           e.       Exemplary and punitive damages;
16           f.       Treble damages as provided in 18 U.S.C. §§ 1964(c) and 1964(d);
17           g.       Reasonable attorneys’ fees and costs;
18           h.       Prejudgment interest;
19           i.       For such other and further relief as the Court deems just and proper.
20     Dated: February 8, 2019                            JONES DAY
21

22                                                        By: s/ Randall E. Kay
                                                             Randall E. Kay
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                                                          Counsel for Plaintiff
24                                                        MICRON TECHNOLOGY, INC.
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                                                        41                              3:17-CV-06932-MMC
                        MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
     Case 3:17-cv-06932-MMC Document 156 Filed 02/26/19 Page 42 of 42



 1                                        DEMAND FOR JURY TRIAL
 2           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Micron demands a jury
 3   trial on all issues triable to a jury.
 4    Dated: February 8, 2019                         JONES DAY
 5

 6                                                    By: s/ Randall E. Kay
                                                          Randall E. Kay
 7
                                                      Counsel for Plaintiff
 8                                                    MICRON TECHNOLOGY, INC.
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                        MICRON TECHNOLOGY, INC.’S FIRST AMENDED COMPLAINT
